Case 7:16-cv§00078 Document 1-2 Filed in TXSD on 02/17/16 Page 1 of 30

EXhibit 1

111ch of Matters Being Filed and List of All Counsel of Record

Case 7:16-cv-OOO78 Document 1-2 Filed in TXSD on 02/17/16 Page 2 of 30

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE SOUTHERN DlSTR|CT OF TEXAS
MCALLEN DlVlSlON

ABELARDO RODR|GUEZ
P|aintiff,

v. C.A. NO.

NORMAN BRUCE UNGER

AND PEARL TRANSPORT, |NC.
Defendant.

¢MW`HMWMMWIW|

 

|NDEX OF MATTERS BE|NG FlLED
AND LlST OF ALL COUNSEL OF RECORD

 

Defendants Norman Bruce Unger and Pearl Transport, lnc.(“Defendants”) submit
this lndex of Matters Being Filed and List of A// Counsel of Record pursuant to Local Rule
81 of the United States District Court for the Southern District of Texas. Pursuant to the
Local Ru|e 81, the following items are being filed with the Notice of Remova/ filed by
Defendants:

1. index of Matters Being Filed and List of All Counse/ of Record;

2. Copies of all executed process, pleadings asserting causes of action and all

orders signed by the state judge as follows:

A. Plaintiffs’ Original Petition;

B Affidavits showing service of process; and

C. Defendant Norman Bruce Unger’s Original Answer
D

Defendant Pearl Transport, lnc’s Original Answer

 

ABELARDO RoDRIGUEz
vs.
PEARL TRANSPORT, INC.

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 3 of 30

3. A copy of the state court docket sheet.
4. Letter from Plaintiff’s counsel dated April 30, 2015 which expressly states
that Plaintiff’s medical expenses alone will exceed more than $75,000.00.
5. The parties’ respective attorneys are as follows:
A. ATToRNEYs FoR PLAlNTlFFs:

R. Todd Elias

Gordon, Elias & Seely, L.L.P.
1811 Bering Drive, Suite 300
Houston, Texas 77057

(713) 668-9999 - Phone
(713) 668-1980 - Fax
rte|ias@geslawfirm.com

David H. Square

Square Law Group

302 Kings Hwy, Suite 103
Brownsville, Texas 78521
(956) 621-4632 - Phone
(956) 621-4633 - Fax
dhsouaren@yahoo.com

B. ATroRNEYs FoR DEFENDANTS:

l\/like l\/lills

ATLAs & HALL, L.L.P.

818 Pecan Ave. (Zip: 78501)
P.O. Box 3725 '
l\/chllen, Texas 78502

(956) 682-5501 - Phone
(956) 686-6109 - Fax
mkmills@atlashall.com

Dated: February 17, 2016.

 

ABELARDO RoDRlGUEZ
vs.
PEARL TRANSPORT, INC.

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 4 of 30

EXhibit Z-A

PlaintifF s Original Petition

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 5 of 30

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Hidalgo County Distn`ct Clerks
Reviewed By: Alexis Bonilla

CAUSE NO. C-0118-16-E

ABELARDO RODRIGUEZ § IN THE DISTRICT COURT OF
PLAINTIFF, §
§
§
VS. § HIDALGO COUNTY, TEXAS
§
§
NORMAN BRUCE UNGER AND §
PEARL TRANSPORT, INC. §
DEFENDANT § _ JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION AND REOUEST FOR DISCLOSURE
TO THE HONORABLE JUDGE OF SAID COURT:"

COMES NOW Abelardo Rodriguez, Plaintiff in the above entitled and numbered cause,
complaining of and against Norman Bruce Unger and Pearl Transport, Inc., Defendants herein,
and for cause of action Would respectfully show unto the -Court and Jury the following:

A. DISCOVERY CONTROL PLAN
l. Plaintiff intends to conduct discovery under Level 2 pursuant to Rule 190.3 of the TRCP.
B. PARTIES

2. Plaintiff, Abelardo Rodriguez, Texas Driver’s License # *****226 is a resident of
Hidalgo County, Texas.

3. Defendant, Norman Bruce Unger, is an individual Who is a resident of St. Anne,
Manitoba, Canada, and lives at 31028 Road 43 N, Ste Anne, Manitoba, Canada, and may be
served With process through Carlos H. Cascos, Texas Secretary of State, P.O. BoX 12079,
Austin, Texas ll-2079. This nonresident individual availed himself of Texas jurisdiction by
doing business in the state of Texas.

4. Defendant, Pearl Transport, Inc. is a Canadian corporation, 27037 Prairie Rose Road,

Landmark, Manitoba, Canada, and may be served With process through Tryon D. Lewis,

 

 

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 6 of 30`

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Chairman of the Texas Transportation Commission at 125 E. llth Street, Austin, Texas 78701~
2483. This nonresident corporation availed itself of Texas jurisdiction by doing business in the
state of Texas.
C. JURISDICTION AND VENUE
5. This Court has jurisdiction over all of the parties and the subject matter involved in this
litigation
6. Venue is proper in Hidalgo County, Texas pursuant to §15.002(a)(2) of the Texas Civil
Practice and Remedies Code, as Hidalgo County, Texas is the county in which Plaintiff,
Abelardo Rodriguez resides and in which the incident the subject of this lawsuit took place.
D- w
7. On or about February 18, 2014 Defendant, Norman Bruce Unger negligently and
carelessly made an unsafe turn and unexpectedly struck Plaintiff, Abelardo Rodriguez’S vehicle.
Plaintiff Abelardo Rodliguez will show that his physical injuries and damages were directly and
proximately caused by Defendant, Norman Bruce Unger’s negligence while in the scope of his
employment with Defendant, Pearl Transport, lnc.
8. As a direct and proximate result of this collision, Plaintiff Abelardo Rodriguez suffered
physical injuries and resulting damages in an amount in excess of the minimum jurisdictional
limits of this court, which were directly and proximately caused by Defendant
E. NEGLIGENCE
9. At the time of the incident, Norman Bruce Unger was operating his vehicle in a negligent
and careless manner. Defendant, Norman Bruce Unger had a duty to exercise ordinary care and
operate his vehicle reasonably and prudently. Defendant, Norman Bruce Unger breached that

duty in one or more of the following ways:

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 7 of 30

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a. Failing to maintain a proper lookout;

b. Failing to take evasive action to avoid the collision in question;

c. Colliding with Plaintiff’s vehicle;

d. Failing to yield the right of way;

e. Driver inattention;

f. Other acts and/or omissions which may be shown at the time of trial.

g. Failure to maintain proper control of his vehicle; and

h. Operating his vehicle in a reckless manner.
10. Each of the above acts and/or omissions, singularly or in combination with others, was
negligent Such negligent acts or failure to act proximately caused the collision made the basis
of this lawsuit and Plainti-ff’S injuries and damages as described below.
14. Plaintiff, Abelardo Rodriguez will show that at the time of the collision, Defendant,
Norman Unger was acting within the course and scope of his employment with Pearl Transport,
lnc. Therefore, Defendant, Pearl Transport, Inc. is vicariously liable to Plaintiff, Abelardo
Rodriguez under the theory of Respondeat Superior.

F. NEGLIGENCE PER SE

15 . Plaintiff, Abelardo Rodriguez will further show that Defendant, Norman Bruce Unger’s
actions and/or inactions constitute negligence per se. Specifically, Defendant, Norman Bruce
Unger’s violated Sections 545 . 101 (a)(b)(l)(Z)(c) and 545 .103 of the Texas Transportation Code.
16. Each of the above acts and/or omissions, singularly or in combination with others, was
negligent Such negligent acts or failure to act proximately caused the collision made the basis

of this lawsuit and Plaintiff’s injuries and damages as described below.

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 8 of 30
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Hidalgo County District Clerks

C_01 18_16_E Reviewed By: Alexis Bonilla
G. DAMAGES
17. Defendants’ negligence was the direct and proximate cause of the occurrence and of the

following injuries and damages suffered by Plaintiff:
a. Plaintiff has been forced to incur reasonable and necessary medical expenses in
the past, and, in all reasonable medical probability, will incur reasonable and

necessary medical expenses in the idture;

b. Plaintiff has endured physical pain and suffering in the past, and, in all reasonable
probability, will continue to suffer physical pain in the future;

c. Plaintiff has suffered physical impairment in the past and, in all reasonable
probability, will continue to suffer physical impairment in the future;

d. Plaintiff has suffered physical disfigurement in the past and, in all reasonable
probability, Will continue to suffer physical disfigurement in the future;

e. Plaintiff has sustained a loss of wages in the past and/or loss of earning capacity
in the past and, in all reasonable probability, will continue to sustain a loss of

earning capacity in the future; and,

f. Plaintiff has suffered mental anguish in the past and, in all reasonable probability,
will continue to suffer mental anguish in the future.

18. To the extent Plaintiff suffered from any pre-existing conditions, if any, Plaintiff would
show that such pre-existing conditions were aggravated by the occurrence in question.

19. Plaintiff demands a jury trial and tenders the appropriate fee with this petition.

l H. REOUEST FOR DISCLOSURE

20. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, each Defendant is requested
to disclose, within fifty (50) days after service of this request upon each Defendant, the
information or material described in Rule 194.2 (a) through (l).

21. WHEREFORE, PREMISES CONSlDERED, Plaintiff prays Defendant, Norman Bruce
Unger’s and Defendant, Pearl Transport, lnc. be cited to appear and answer herein, and that upon

final trial hereof, Plaintiff recovers from Defendant, Norman Bruce Unger’s and Defendant, Pearl

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 9 of 30

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Transport, lnc. a sum within the jurisdictional limits of the Court, costs of Court, pre-judgment and

post-judgment interest at the legal rate, and for any and all further relief, both general and special,

legal and equitable to which Plaintiff may be justly entitled.
Respectfully submitted,

GoRDoN, ELIAS & SEELY, L.L.P.

By: /S/R. T odd Elias
R. Todd Elias
SBN: 00787427
1811 Bering Drive, Suite 300
Houston, Texas 77057
(713) 668-9999
Facsirnile: (713) 668-1980

rtelias@geslawfn'rn.com

and

 

David H. Square

SBN: 24076013

Square Law Group

302 Kings Hwy, Suite 103
Brownsville, Texas 78521
(956) 621-4632 - Telephone
(956) 621-4633 - Facsimile

dhsguaren@yahoo.com

ATTORNEYS FOR PLAINTIFF

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 10 of 30

Exhibit Z-B

Affrdavits showing service of process

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 11 of 30

C-0118-16-E
275TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you or your attorney do
not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the
expiration of twenty (20) days after you were served with this citation and petition, a default judgment may be
taken against you.

Norman Bruce Unger

31028 Road 43 N

Ste Anne, Manitoba, Canada

May Be Served With Process Through Carlos H. Cascos
Texas Secretary Of State

PO Box 12079

Austin TX 11-2079

You are hereby commanded to appear by filing a written answer to the PLAINTIFFS' ORIGINAL
PETITION AND REQUEST FOR DISCLOSURE on or before 10:00 o’clock a.m. on the Monday next after
the expiration of twenty (20) days after the date of service hereof, before the Honorable Juan Partida, 275th
District Court of Hidalgo County, Texas at the Courthouse at 100 North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 8th day of January, 2016 and a copy of same accompanies this citation.
The file number and Style of Said suit being C-0118~16-E, ABELARDO RODRIGUEZ VS. NORMAN
BRUCE UNGER AND PEARL TRANSPORT, INC.

Said Petition was filed in Said court by R. TODD ELIAS, 5821 SW FREEWAY STE 422 HOUSTON TX
77057.

The nature of the demand is fully shown by a true and correct copy of the petition accompanying this citation
and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements of law, and the
mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg, Texas on this the llth
day of January, 2016.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

PATRICIA MOLINA, DEFMITTY CLERK

 

 

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 12 of 30

C-0118-16-E
OFFICER’S RETURN

Came to hand on of , 201 at o’clock _____.m. and executed in

County, Texas by delivering to each of the within named Defendant in person, a true copy of
this citation, upon which I endorsed the date of delivery to said Defendant together with the accompanying copy
of the (petition) at the following times and places, to-wit:

 

NAME DATE TIME PLACE

 

 

 

 

 

 

 

And not executed as to the defendant, the diligence used in
finding said defendant, being: and the cause of failure to execute this process is:

and the information received as to the whereabouts of said defendant, being:
_ . 1 actually and necessarily traveled miles in the service of this citation, in
addition to any other mileage l may have traveled in the service of other process in the same case during the
same trip.

 

 

Fees: serving copy(s) $
miles .................... $

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
In accordance to Rule 107, the officer or authorized person who serves or attempts to serve a citation must sign
the return. lf the return is signed by a person other than a sheriff, constable or the clerk of the court, the return
must either be verified or be signed under the penalty of perjury. A return signed under penalty of perjury must
contain the statement below in substantially the following form:

 

 

 

“My name is . my date of birth is and the address
is .and 1 declare under penalty of perjury that the foregoing is true
and correct. '

EXECUTED in County, State of Texas, on the day of , 201_

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 13 of 30

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1/19/2016 5:30:51 PM
Hidalgo County District Clerks

275th District Court of HIDALGO County, Texas Reviewed By: Je"““'e'$‘nde“

100 N. cLosNER, 2ND FLooR EDINBURG Tx 78539
CASE #Z C-0118-16-E

ABEL.A.`RDO RODRIGUEZ

Plaintiff
vs
NORMAN BRUCE UNGER AND PEARL TRANSPORT, INC.

Defendant
AFFIDAVIT OF SERVICE

I, FLOYD J BOUDREAUX, make statement to the fact; »
That I am a competent person more than 18 years of age or older and not a party to
this action, nor interested in outcome of the suit. That I received the documents
stated below on 01/19/16 10:50 am, instructing for same to be delivered upon Unger,
Norman Bruce, By Delivering To The Secretary Of State_By Delivering To.

That I delivered to : Unger, Norman Bruce, By Delivering To The Secretary Of State By

: Delivering To. By Delivering to Venita Okpegbue, Citation

Receiver

the following : CITATION; PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE
at this address : 1019 Brazos STE. 105

: Austin, Travis County, TX 78701
Manner of Delivery : by PERSONALLY delivering the document(s) to the person above.
Delivered on : JAN 19, 2016 11:40 am

My name is FLOYD J BOUDREAUX, my date of birth is JAN 10th, 1943, and my address is
Professional Civil Process Downtown, 2211 S. IH 35, Suite 203, Austin TX 78741, and

U.S.A. I declare under penalty of perjury that the fore ing is true and correct.
Executed in Travis County, State of Texas, on the f § day of

`Ji,?l A/ , 20 /14`.

 

Texas Certification#: SCH~3506 Exp. 02/28/17

Private Process Server
Professional Civil Process Of Texas, Inc . PCP Inv#: Z16100070
103 Vista View Trail SpiCewoOd TX 78669 SO Inv#: AXXXXXXXX

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Reviewed By: Jennifer Sinder

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Court: Laura Hinojosa

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Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 15 of 30

C-0118-16-E
275TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. lf you or your attorney do
not file a written answer with the clerk who issued this citation by 10:00 a.rn. on the Monday next following the
expiration of twenty (20) days after you were served with this citation and petition, a default judgment may be
taken against'you.

Pearl Transport, Inc.

27037 Prairie Rose Road

Landmar'k, Manitoba, Canada

May Be Served With Process Through Tryon D. Lewis
Chairman Of The Texas Transportation Commission
125 E 11th,Street

Austin TX 78701-2483

You are hereby commanded to appear by filing a written answer to the PLAINTIFF’S ORIGINAL
PETITION AND REQUEST FOR DISCLOSURE on or before 10:00 o’clock a.m. on the Monday next after
the expiration of twenty (20) days after the date of service hereof, before the Honorable Juan Partida, 275th
District Court of Hidalgo County, Texas at the Courthouse at 100 North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 8th day of January, 2016 and a copy of same accompanies this citation.
The file number and style of said suit being C-0118-16-E, ABELARDO RODRIGUEZ VS. NORMAN
BRUCE UNGER AND PEARL TRANSPORT, INC.

Said Petition was filed in said court by R. TODD ELIAS, 5821 SW FREEWAY STE 422 HOUSTON TX
77057.

The nature of the demand is fully shown by a true and correct copy of the petition accompanying this citation
and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements of law, and the
mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg, Texas on this the 11th
day of January, 2016.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

 

§§ m § '~§_

PATRICIA MOLINA, DE`P`UTY CLERK

 

 

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 16 of 30

C-0118-16-E
OFFICER’S RETURN

Came to hand on ' of , 201 at o’clock .m. and executed in

County, Texas by delivering to each of the within named Defendant in person, a true copy of
this citation, upon which I endorsed the date of delivery to said Defendant together with the accompanying copy
of the (petition) at the following times and places, to-wit:

 

 

NAME DATE T]l\/iE PLACE

 

 

 

 

 

 

 

And not executed as to the defendant, the diligence used in
finding said defendant, being: and the cause of failure to execute this process is:

and the information received as to the whereabouts of said defendant, being:
. I actually and necessarily traveled miles in the service of this citation, in
addition to any other mileage I may have traveled in the service of other process in- the same case during the
same trip.

 

 

Fees: serving copy(s) $
miles .................... $

 

DEPUTY
» COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
ln accordance to Rule 107, the officer or authorized person who serves or attempts to serve a citation must sign
the return. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return
must either be verified or be signed under the penalty of perjury. A return signed under penalty of perjury must
contain the statement below in substantially the following form:

 

 

 

“My name is , my date of birth is and the address
is .and l declare under penalty of perjury that the foregoing is true
and correct.

EXECUTED in County, State of Texas, on the day of ‘ , 201_

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:16-cv-00078 Document1-2 Filed in TXSD on 02/17/16 Page 17 of 30
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Hidalgo County District Clerks

275th District Court of HIDALGO County, Texas Reviewed By: Je""ifers‘"der

100 N. cLosNER, 2ND FLooR EDINBURG Tx 78539
CASE #Z C-0118-16-E

ABELA.'R.DO RODRIGUEZ

Plaintiff
vs
NORMAN BRUCE UNGER AND PEARL TRANSPORT, INC.

Defendan t
AFFIDAVIT OF SERVICE

I, FLOYD J BOUDREAU'X, make statement to the fact;
That I am a competent person more than 18 years of age or older and not a party to
this action, nor interested in outcome of the suit. That I received the documents
stated below on 01/19/16 10:50 am, instructing for same to be delivered upon Pearl
Transport, Inc.,' By Delivering To The Secretary Of State By Delivering To.

That I delivered to Pearl Transport, Inc. , By Delivering To The Secretary Of State By
Delivering To. By Delivering to Venita Okpegbue, Citation

Receiver

n n n

the following : CITATION; PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

at this address 1019 Brazos STE. 105

Austin, Travis County, TX 78701

Manner of Delivery : by PERSONALLY delivering the document(s) to the person above.

Delivered on z JAN 19, '2016 11=40 am

My name is FLOYD J BOUDREAUX, my date of birth is JAN 10th, 1943, and my address is

Professional Civil Process Downtown, '2211 S. IH 35, Suite 203, Austin TX '_78741, and

U.S.A. I declare under penalty_of perjury that the fore oing is true and correct.
f 52 day of

Executed in Travis County, State of Texas, on the

 

. Texas Certification#: SCH-3506 Exp. 02/28/17
Private Process Server
Professional Civil Process Of Texas, Inc PCP Inv#: Z1610007l
103 Vista View Trail Spicewood TX 78669 SO Inv#: AXXXXXXXX
(512) 477- 3500

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‘({, Elias, R. Todd

   

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Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 18 of-30

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Reviewed By: Jennifer Sinder

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Court: Laura Hinojosa

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Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 19 of 30

Exhibit 2-C

Defendant Norman Bruce Unger’s Original Answer

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 20 of 30
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Reviewed By: Jennifer Sinder

CAUSE NO. C-0118-16-E

ABELARDO RODR|GUEZ § |N THE DlSTR|CT COURT
§
V. § OF HlDALGO COUNTY, TEXAS
- §
NORMAN BRUCE UNGER and § .
PEARL TRANSPORT, `|NC. § 275TH JUD|ClAL DlSTR|CT

ORlGlNAL ANSWER OF DEFENDANT NORMAN BRUCE UNGER
TO THE HONOFiABLE JUDGE OF SAlD COURT:

NOW COMES NORMAN BRUCE UNGER, a Defendant in the above entitled and
numbered cause, and files this his Original Answer in reply to Plaintiff‘s Original Petition
on file herein, and for such Answer would respectfully show unto the Court the following:

l.

Reserving the right to file other and further pleadings, exceptions and denia|s, this
Defendant denies each and every material allegation contained in Plaintiff's Original
Petition' and demands strict proof thereof in accordance with the laws and the Rules of
Civil Procedure of the State of Texas.

ll. l

This Defendant relies on the provisions of CPRC 41 .0105 with regard-to paid and
incurred medical services.

lll.

This Defendant would respectfully invoke the applicable provisions of Chapter
18.091 of the Texas Civil Practice & Remedies Code regarding Plaintiff’s claims for lost
earnings, earning capacity, or contribution of a pecuniary value.

lV.
Defendant NORMAN BRUCE UNGER demands (e tri l by jury, and herewith
l

 

 

Case 7:16-cv-00078 Document1-2 Filed in TXSD on 02/17/16 Page 21 of 30
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Hidalgo County District Clerks
Reviewed By: Jennifer Sinder

tenders the required jury fee.

WHEFiEFOFiE, PREM|SES CONS|DERED, Defendant NORMAN BRUCE UNGER
prays that Plaintiff take nothing and that this Defendant go hence with his costs without
day.

Respectfully submitted,

ATLAS, HALL & RODR|GUEZ, L.L.P.
P. O. Box 3725

McAllen, Texas 78502

Tel. (956) 682-5501

Fax (956) 1686-61 09

.By: M/L

Mike Milis ` .

State Bar No. .1416350
mkmi|ls@at|ashall.oom
ATTORNEYS FGR DEFENDANT
NORMAN BRUCE UNGER

CERTIF|CATE OF SERV|CE

l HEREBY CERT|FY that a true and correct copy of the above and foregoing
document has been mailed, certified mail, return receipt requested, to all counsel of
record on this 12‘h day of February, 2016.

R. Todd Elias

GORDON, ELlAS & SEELY, L.L.P.
1811 Bering Drive, Suite 300
Houston, Texas 77057
rtelias@oeslawfirm.com

David H. Square

SQUARE LAW GROUP

302 Kings Highway, Suite 103
Brownsville, Texas 78521

dhsguare@yahoo.com M

i'vnke Mins

 

Case 7:16-cv-00078 Document1-2 Filed in TXSD on 02/17/16 Page 22 of 30

Exhibit 2-D

Defendant Pearl Transport, Inc.’s Original Answer

Case 7:16-cv-00078 Document 1-2 Filed in TXSD on 02/17/16 Page 23 of 30
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Hidalgo County Distnct Clerks
Reviewed By: Jennifer Sinder

CAUSE NO. C-0118-16-E

ABELARDO RODRIGUEZ § |N THE DlSTR|CT COURT
' §
V. § OF H|DALGO COUNTY, TEXAS
» §
NORMAN BRUCE UNGER and §
PEARL TRANSPORT, `|NC. § 275T"l JUD|ClAL DlSTR|CT

OR|G|NAL ANSWER OF D'EFENDANT PEARL TRANSPORT |NC.

 

TO THE HONORABLE JUDGE OF SAlD COURT:

NOW COMES PEARL TRANSPORT, lNC., a Defendant in the above entitled and
numbered cause, and files this its Original Answer in reply to Plaintiff's Original Petition
on file herein, and for such Answer would respectfully show unto the Court the following:

l.

Reserving the right to file other and further pleadings, exceptions and denials, this
Defendant denies each and every material allegation contained in Plaintiff’s Original
Petition and demands strict proof thereof in accordance with the laws and the Rules of
Civil Procedure of the State of Texas.

b ll.

This Defendant relies on the provisions of CPRC 41 .0105 with regard to paid and
incurred medical services.

lll.

This Defendant would respectfully invoke the applicable provisions of Chapter
18.091 of the Texas Civil Practice & Remedies Code regarding Plaintiff’s claims for lost
earnings, earning capacity, or contribution of a pecuniary value.

WHERE`FORE, PREMlSES CONSIDERED, Defendant PEARL TRANSPORT,

 

 

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Electronica|ly Filed
2/16/2016 10:50:18 AM
Hidalgo County District Clerks
Reviewed By: Jennifer Sinder

|NC. prays that Plaintiff take nothing and that this Defendant go hence with its costs without

day.
Respectfully submitted,

ATLAS, HALL & RODRIGUEZ, L.L.P.
P. O. Box 3725

McA|len, Texas 78502

Tel. (956) 682-5501

Fax (956) 686-6109

Mike ivmls l

State Bar No. 141635_00
mkmills@at|ashal|.com
ATTORNEYS FOR DEFENDANT
PEARL TRANSPORT, |NC.

CERT|F|CATE OF SERV|CE

l HEFiEBY CERTlFY that a true and correct copy of the above and foregoing
document has been mailed, certified mail, return receipt requested, to all counsel of
record on this 16th day of February, 2016.

Fi. Todd Elias

GORDON, ELlAS & SEELY, L.L.P.
1811 Bering Drive, Suite 300
Houston, Texas 77057

rtelias@gv eslawfirm.com

David H. Square

SQUARE LAW GROUP

302 Kings Highway, Suite 103
Brownsville, Texas 78521

dhsguare@yahoo.com w

Mike Mills

 

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Exhibit 3

State Court Docket

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CASE SUMMARY
CASE NO. C-0118-16-E

 

 

 

 

 

 

 

 

 

 

 

   
   

Abelardo Rodriguez l § Location: 275th District Court
VS. § Judicial Officer: _ Partida, Juan
Norman Bruce Unger and Pearl Transport, Inc. § Filed on: 01/08/2016
§
CASE INFORMAT!ON
, Injury or Damage - Motor
Case TyPe‘ vehicle (oCA)
DATE CASE ASSIGNMENT
Current Case Assignment
Case Number C-Ol 18-16-E
Court 275th District Court
Date Assigned 01_/08/2016
Judicial Officer Partida, Juan
PARTY INFORMATION
Lead Attorneys
Plaintiff Rodriguez, Abelardo ELIAS, R. TODD
Retained-
713-668-9999(W)
Defendant Pearl Transport, Inc. M[LLS, MIKE
Retained
956-682-5501(W)
Unger, Norman Bruce MILLS, MIKE
Retained
956-682-5501(W)
DATE EVENTS & ORDERS OF THE COURT INDEX
02/16/2016 Answer
Party: Defendant Pearl Transport, Inc.
Original Answer of Defendant Pearl Transport, Inc.
02/12/2016 Answer
Party: Defendant Unger, Norman Bruce
Original Answer of Defendant Norman Bruce Unger
01/28/2016 § service Remmed
AWdavit
01/19/2016 serviee Reemed
Ajz`davit
01/19/2016 '@ service Rerumed
A]j‘z`davil
01/11/2016 §§ service reeued -
CITATION-NGRMANBRUCE UNGER, PEARL TRANSPORT, INC 62 \ |f' l j(U
0 _ DATE _ mm
01/11/2016 Cltatlon ‘ ._S

 

PAGE 1 OF 2

 

 

CaS€ 7216-CV-OOO78 DOCUm€|Z‘YS]nQDI:l-_r'li&d '!L'bilfli€SD On 02/17/16 Page 27 Of 30

CASE SUMMARY
CAsE No. C-0118-16-E
§§ Unger, Norman Bruce
served; 01/19/2016

Pearl Transport, Inc.
Served: 01/19/2016
ESER VED.‘ CGAITAN@GESLA WFIRM. COM

01/08/2016 § original Petition (OCA)
Plaintij's Original Petition and Requestfor Disclosure

 

DATE FINANCIAL INFORMATION

 

Defendant Pearl Transport, Inc.

Tota1 Charges 2.00
Tota1 Payments and Credits 2.00
Balance Due as of 2/17/2016 0.00
Defendant Unger, Norman Bruce

Tota1 Charges 42.00
Total Payments and Credits 42.00
Balance Due as of 2/17/2016 0.00
Plaintiff Rodn`guez, Abelardo

Tota1 Charges 316.00
Total Payments and Credits 1 316.00

Balance Due as of 2/17/2016 0.00

 

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Exhibit 4

Letter from PlaintifF s counsel dated April 30, 2015

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sQUARE LAWGROUP, PLLC

    

P.o. eox 5302 srownswne,rexawsszs Phone(sss)621-4632 Fax(9566214633 l

April 30, 2015
Heather Yewdall
Senior Injury Claims Adjuster
Manitoba Pubiic Insurance
P.O. Box 6300
Winnipeg, MB R3C 4A4
RE:

Your Insured: Pearl Tr'ansport Incorporated
Date ofLoss: February 18, 2014

Claim No.: 1034325343

Client: Abelardc Rcdriguez

d Dear Ms. Yewdall,

Please be advised that Abelardo Rcdliguez has ietained me to assist him' 111 concluding
his cause of action for an accident that occun ed on about Febzuary 18, 2014. .

Enclosed fo1 your consideration are the foliowing itemized expenses fol Abelardo
Rodriguez:

5,201.00
2,400.00

Khit Chiropractic & Wellness Center $

Insight Diagnostic & hnaging Center $

Express Occupational-Medicine Clinic $ ' 400.00
Jorge Saenz, M.D. P.A. $ 450.00
N01111sh01'e Orthcpedics $ , 1,555.00
Spine Pain M'anagement, Inc. $ 1 8,997.00
Hammami bnaging & Associates $ 2, 500. 00

r. O1111013aech In§jib.lte fog Spinal Disorders S 550 Q_OV . r ~
Pioposed P_iocedure: Ue1v1ca1 Spme ' § 101 413.0@“

",~o.';>o\:o\<.)\-Au)\_o._.

TOTAL . ` S 123,471.00

Assuming you are in acc01d With the liability lssue, 1 am enclosing the medical reports §
that show the sciious inj 111 ies sustained by Abelaido Rcd1iguez.

My client has authon`zed me to settle his cause of action for policy iimits. In view of the
substantial injuiies continued by the above-mentioned medical piovidei's there can be no
justification for not settling the case fci the insured policy limits thwithstanding, 1 make this
offe1 in good faith and' 111 order to avoid furthet unnecessary delay and the expense of tn`al. In

VIA E-MAIL: hyewdall@mpi.mb.ca

 

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the event that your company fails to accept this compromise offer, and a judgment in rendered in
excess of your offer, we will expect the insurance carrier to either pay the excess or take
whatever‘action or steps are available to him under the law to see to it that the judgment is

satisfied

‘ 1 am hopeful that this matter ca11 be amiably and expeditiously disposed of in a manner
satisfactory to all. l shall await your reply within the next twenty (20) days. '

Respecthilly Submittcd,

M!SA/

David H. Square
Attorney at Law

DHS/sf

VlA E-MAIL: hyewdall@n_ipi.mb.ca

 

